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 PR08 35                  Report and Order Terminating Probation/Supervised Release              ■;.rD
(Rev, 5/01)                                Prior to Original Expiration Date                    ■ ■ ■■[CicauRi
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                                           United States District Court
                                                     FOR THE
                                     SOUTHERN DISTRICT OF GEORGIA
                                          SAVANNAH DIVISION




              UNITED STATES OF AMERICA


                             V.                                 Crim.No.       4:08CR00315-19


                   Thomas Carl Johnson



                 On December 9, 2013, the above named was placed on supervised release for a period of five
years. He has complied with the rules and regulations of supervised release and is no longer in need of
supervision. It is accordingly recommended that Thomas Carl Johnson be discharged from supervision.

                                                              Respectfully submitted



                                                              Ervin G.
                                                              United Stafes Probation Officer



                                             ORDER OF THE COURT


         Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this               day of           ,2017.




                                                              William T. Moore, Jr.
                                                              Judge, U.S. District Court
